                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


REVEREND DARCY ROAKE and ADRIAN
VAN YOUNG, on behalf of themselves and on
behalf of their minor children, A.V. and S.V., et
al.,

       Plaintiffs,
                                                      CIVIL ACTION NO.
                                                      3:24-cv-00517-JWD-SDJ
       v.

CADE BRUMLEY, in his official capacity as
the Louisiana State Superintendent of
Education, et al.,

       Defendants.


         JOINT MOTION TO CONTINUE SCHEDULING ORDER DEADLINES

       NOW INTO COURT, through undersigned counsel, come Plaintiffs, who move jointly

with all Defendants to continue the deadlines set in the Court’s June 26, 2024, scheduling order

(ECF No. 13). The Court’s order included the following requirements:

        a) that the parties hold a Rule 26(f) conference no later than September 5, 2024, 21 days

            prior to the scheduling conference;

        b) that the parties file a status report no later than September 12, 2024;

        c) that the parties conduct a telephonic scheduling conference on September 26, 2024 at

            9:30 a.m.

       Subsequent to this order, Plaintiffs filed a Motion for Preliminary Injunction (ECF No. 21),

and Defendants indicated an intent to move for dismissal of Plaintiffs’ Complaint. In its July 25,

2024, Order (ECF No. 37), the Court set a briefing schedule for Plaintiffs’ preliminary injunction

motion and Defendants’ then-forthcoming Motions to Dismiss. The Court also set a hearing date
on Plaintiffs’ preliminary injunction motion and any further motions filed by the parties (e.g.,

motions to dismiss). The hearing is scheduled to be held on September 30, 2024. The Court held

in abeyance all of Defendants’ answer deadlines until the Court’s disposition of the then-

forthcoming Motions to Dismiss. Defendants’ Motions to Dismiss were filed on August 5, 2024

(ECF Nos. 38, 39).

       In light of the Court’s July 25, 2024, order and the September 30, 2024, hearing date, the

parties respectfully request that this Court continue the deadlines set forth in the June 26, 2024,

scheduling order until 30 days following the disposition of Defendants’ Motions to Dismiss.



Date: September 5, 2024

                                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2024, I filed the foregoing Notice via this Court’s

electronic-filing system which will send notice of electronic filing to counsel of record.


                                                      By: /s/ Charles Andrew Perry
                                                      Charles Andrew Perry

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